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                                   3                             UNITED STATES DISTRICT COURT

                                   4                           NORTHERN DISTRICT OF CALIFORNIA

                                   5

                                   6        IN RE TESLA INC. SECURITIES LITIGATION        Case No. 18-cv-04865-EMC

                                   7
                                                                                          CASE MANAGEMENT AND
                                   8                                                      PRETRIAL ORDER FOR JURY
                                                                                          TRIAL
                                   9

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                                  11

                                  12   Pursuant to Federal Rule of Civil Procedure 16 and Civil Local Rule 16-10, THE FOLLOWING
Northern District of California
 United States District Court




                                  13   DEADLINES ARE HEREBY ORDERED:

                                  14
                                       1.      TRIAL DATE:                           5/31/2022, at 8:30 a.m.
                                  15                                                 Courtroom 5, 17th Floor
                                                                                     Jury (x) or Court ( )
                                  16
                                       2.      TRIAL LENGTH:                         Estimated 10 court days (typical court day for
                                  17                                                 trial is 8:30 a.m. to 2:00 p.m.; Thursdays are
                                                                                     dark)
                                  18
                                       3.      FINAL PRETRIAL CONFERENCE:            5/3/2022, at 2:30 p.m.
                                  19                                                 LEAD COUNSEL WHO WILL TRY THE
                                                                                     CASE MUST ATTEND.
                                  20
                                       4.      DISPOSITIVE MOTIONS:                  Last day to file dispositive motions 10/15/2021
                                  21
                                                                                     Opposition due by 11/23/2021
                                  22
                                                                                     Reply due by 12/23/2021
                                  23
                                                                                     Motion to be heard 1/20/2022 at 1:30 p.m. See
                                                                                     Civil Local Rules for notice and filing
                                  24                                                 requirements.
                                  25   5.      CLASS CERTIFICATION MOTION:           Filed by 9/22/2020
                                  26                                                 Opposition due by 11/23/2020
                                  27                                                 Reply due by 1/6/2021
                                  28                                                 Hearing set 2/18/2021 at 1:30 pm
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                                   1   6.      NON-EXPERT DISCOVERY CUT-OFF:                06/15/2021

                                   2

                                   3   7.      EXPERT REPORTS:                              Opening reports by 07/14/2021

                                   4                                                        Rebuttal reports by 08/25/2021

                                   5

                                   6   8.      EXPERT DISCOVERY CUT-OFF:                    9/15/2021

                                   7

                                   8
                                       9.      DISCOVERY LIMITATIONS:                       Prior to completion of ADR, shall focus on
                                   9                                                        discovery necessary to brief class certification
                                                                                            and for ADR preparation. Parties shall meet
                                  10                                                        and confer and come up with a discovery plan.
                                               (F.R.C.P. applies unless
                                  11           otherwise indicated; parties to stipulate to number of depositions prior to ADR)

                                  12   Note: Parties may proceed with depositions and written discovery in conformance with the Federal
Northern District of California




                                       Rules of Civil Procedure. Instead of filing formal discovery motions, parties shall refer to this
 United States District Court




                                  13   Court’s standing order to meet and confer and submit joint letter on unresolved issues to the Court
                                       for expedited resolution.
                                  14

                                  15   9.      ADR:                                         Parties to meet and confer and determine
                                                                                            format of ADR and whether ADR is to occur
                                  16                                                        after class certification briefing but before
                                                                                            hearing, after class certification hearing but
                                  17                                                        before MSJ, or after MSJ. Court urges earlier
                                  18                                                        scheduling of ADR and reserves the right to so
                                                                                            order.
                                  19

                                  20   10.     LAST DAY TO AMEND PLEADING:                  7/31/2020

                                  21

                                  22   11.     FURTHER STATUS CONFERENCE:                   9/3/2020 at 10:30 a.m.

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                                   1                                      PRETRIAL INSTRUCTIONS

                                   2   A.      MEET AND CONFER

                                   3           At least forty-two (42) days prior to the final pretrial conference, lead counsel who will try

                                   4   the case shall meet and confer regarding the following:

                                   5           1.     Preparation and content of the joint pretrial conference statement, see Part B, infra;

                                   6           2.     Preparation and exchange of pretrial materials, see Part C, infra; and

                                   7           3.     Settlement of the action.

                                   8   B.      JOINT PRETRIAL CONFERENCE STATEMENT

                                   9           At least twenty-one (21) days prior to the final pretrial conference, the parties shall file a
                                       joint pretrial conference statement. The statement shall contain the following information:
                                  10
                                               1.     The Action.
                                  11
                                                      a.      Substance of the Action. A brief description of the substance of claims and
                                  12
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                                                              defenses which need to be decided.
                                  13
                                                      b.      Relief Prayed. A statement of all relief sought, particularly itemizing all
                                  14
                                                              elements of damages claimed.
                                  15
                                               2.     Factual Basis of the Action.
                                  16
                                                      a.      Undisputed Facts. A list of all stipulated facts, i.e., all facts parties to which
                                  17
                                                              the parties will stipulate to for incorporation into the trial record without the
                                  18
                                                              necessity of supporting testimony or exhibits.
                                  19
                                                      b.      Disputed Factual Issues. A list of all factual issues that remain to be tried,
                                  20
                                                              stating the issues with the same generality/specificity as any contested
                                  21
                                                              elements in the relevant jury instructions and organized by counts.
                                  22
                                               3.     Disputed Legal Issues. Without extended legal argument, a concise statement of
                                  23
                                                      each disputed point of law concerning liability or relief, citing supporting statutes
                                  24
                                                      and decisions.
                                  25
                                               4.     Estimate of Trial Time. An estimate of the number of hours needed for the
                                  26
                                                      presentation of each party’s case.
                                  27
                                               5.     Trial Alternatives and Options.
                                  28
                                                                                           3
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                                   1            a.       Settlement Discussion. A statement summarizing the status of settlement

                                   2                     negotiations and indicating whether further negotiations are likely to be

                                   3                     productive.

                                   4            b.       Consent to Trial Before a Magistrate Judge. A statement whether reference

                                   5                     of all or part of the action to a master or magistrate judge is feasible,

                                   6                     including whether the parties consent to a court or jury trial before a

                                   7                     magistrate judge, with appeal directly to the Ninth Circuit.

                                   8            c.       Amendments or Dismissals. A statement of requested or proposed

                                   9                     amendments to pleadings or dismissals of parties, claims, or defenses.
                                                d.       Bifurcation or Separate Trial of Issues. A statement of whether bifurcation
                                  10
                                                         or a separate trial of specific issues is feasible and desired.
                                  11
                                          6.    Witnesses. The following information should be provided as an appendix to the
                                  12
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                                                joint pretrial conference statement. For each party, a list of all witnesses likely to
                                  13
                                                be called at trial, including those appearing by deposition. For each witness, there
                                  14
                                                should be a short statement of the substance of his or her testimony and an estimate
                                  15
                                                regarding the length of testimony (including direct and cross-examination). If the
                                  16
                                                witness is an expert witness, the short statement should clearly state the expert’s
                                  17
                                                theories and conclusions and the bases therefor; in addition, the expert’s curriculum
                                  18
                                                vitae and report (if any) should be attached. If there are objections to a live
                                  19
                                                witness’s testimony, whether in whole or in part, that objection should be raised
                                  20
                                                through a motion in limine. For objections to deposition testimony, see Part B.8,
                                  21
                                                infra.
                                  22
                                          7.    Exhibits. The following information should be provided as an appendix to the joint
                                  23
                                                pretrial conference statement. A joint exhibit list in tabular form, with (a) a
                                  24
                                                column that briefly describes the exhibit; (b) a column that describes for what
                                  25
                                                purpose the party will offer the exhibit and identifies its sponsoring witness; (c) a
                                  26
                                                column that states any objections to the exhibit; (d) a column that briefly responds
                                  27
                                                to the objections; and (e) a blank column for the Court’s use. Before this list is
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                                                                                     4
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                                   1                  filed with the Court, the parties shall meet and confer, in person, to consider exhibit

                                   2                  numbers, to eliminate duplicate exhibits and confusion over exhibits, and to make a

                                   3                  good faith effort to stipulate to admissibility. If stipulation is not possible, the

                                   4                  parties shall make every effort to stipulate to authenticity and foundation absent a

                                   5                  legitimate (not tactical) objection. In addition to the above, a joint statement in

                                   6                  which each party identifies fifteen (15) of the opposing party’s exhibits for which

                                   7                  the identifying party seeks rulings on objections in advance of trial. A party may

                                   8                  identify, e.g., an exhibit that it believes is critical to the case (if admitted or if not

                                   9                  admitted) or an exhibit that it believes is representative of other exhibits such that
                                                      the identified exhibit will provide a bellwether as to how the Court will rule on
                                  10
                                                      other exhibits.
                                  11
                                               8.     Use of Discovery Responses. The following information should be provided as an
                                  12
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                                                      appendix to the joint pretrial conference statement. Excerpts of interrogatory
                                  13
                                                      responses, responses to requests for admission, and deposition testimony (with
                                  14
                                                      specific line references identified) that each party intends to present at trial. If there
                                  15
                                                      are objections to the use of written responses, the parties should include a joint
                                  16
                                                      memorandum that briefly states the objecting party’s objection and the opposing
                                  17
                                                      party’s response. If there is an objection to the general subject matter of a
                                  18
                                                      deponent’s testimony, the objection should be made through a motion in limine. If
                                  19
                                                      specific objections were made during the deposition that are still in need of a Court
                                  20
                                                      ruling, the parties should include a joint memorandum that identifies the deposition
                                  21
                                                      testimony at issue and that briefly states the objecting party’s objection (including
                                  22
                                                      any counter-designation) and the opposing party’s response (including any counter-
                                  23
                                                      designation). The Court expects the parties to meet and confer in good faith in the
                                  24
                                                      attempt to resolve those specific objections regarding deposition testimony before
                                  25
                                                      any memorandum regarding objections are filed.
                                  26
                                       C.      PRETRIAL MATERIALS
                                  27
                                               At least twenty-one (21) days prior to the final pretrial conference, the parties shall file the
                                  28
                                                                                           5
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                                   1   following pretrial materials.

                                   2          1.      Motions in Limine. The following procedure should be used with respect to

                                   3   motions in limine. At least thirty-two (32) days before the pretrial conference, serve – but do not

                                   4   file – the moving papers. At least twenty-five (25) days before the conference, serve – but do not

                                   5   file – the oppositions. When the oppositions are received, the moving party should collate the

                                   6   motion and opposition together, back to back, and then file the paired sets (each under separate

                                   7   cover) at least twenty-one (21) days prior to the conference.

                                   8          Each motion in limine should address a single topic and contain no more than seven pages

                                   9   of briefing per side. Reply briefs are not permitted. Usually, each party or side should not need to
                                       file more than five motions in limine. Each party shall number its motions in limine in order of
                                  10
                                       importance, the first being the most important.
                                  11
                                              2.      Preliminary Statement to the Jury. In a jury trial, the parties shall provide a
                                  12
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                                       simplified statement of the case to be read to the jury during voir dire and as a part of the proposed
                                  13
                                       jury instructions. Unless the case is extremely complex, this statement should not exceed one
                                  14
                                       paragraph.
                                  15
                                              3.      Jury Instructions. In a jury trial, a joint set of proposed jury instructions on
                                  16
                                       substantive issues of law, arranged in a logical sequence.
                                  17
                                              If undisputed, an instruction shall be identified as “Stipulated Instruction No. ____ re
                                  18
                                       ____________________,” with the blanks filled in as appropriate. Even if stipulated, the
                                  19
                                       instruction shall be supported by citation.
                                  20
                                              If disputed, each version of the instruction shall be inserted together, back to back, in their
                                  21
                                       logical place in the overall sequence. A disputed instruction shall be identified as “Disputed
                                  22
                                       Instruction No. ____ re ____________________ offered by __________,” with the blanks filled
                                  23
                                       in as appropriate. All disputed versions of the same basic instruction shall bear the same number.
                                  24
                                       If a party does not have a counter-version and simply contends that no such instruction in any
                                  25
                                       version should be given, then that party should so state on a separate page inserted in lieu of an
                                  26
                                       alternate version. Each party should support its version of a disputed instruction, and/or oppose
                                  27
                                       the version offered by the opposing party, with a brief argument and citation to any relevant
                                  28
                                                                                         6
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                                   1   authority. The argument and citation should be provided immediately following the disputed

                                   2   instructions. The parties are encouraged to keep disputed instructions to a minimum.

                                   3          Finally, absent objection, the Court shall give the following jury instructions from the

                                   4   Ninth Circuit Manual of Model Civil Jury Instructions (2017 ed.): 1.3-1.5, 1.9-1.15, 1.17-1.18,

                                   5   1.20-1.21, 3.1-3.3, 3.5.

                                   6          4.        Voir Dire. In a jury trial, the Court will conduct a voir dire based on the attached

                                   7   (or a similar) questions/subjects. Counsel may also submit for the Court’s consideration an agreed

                                   8   upon set of additional voir dire questions to be posed by the Court. Any voir dire questions on

                                   9   which counsel cannot agree may be submitted separately. Counsel will be allowed a brief (15
                                       minutes) follow-up voir dire after the Court’s questioning.
                                  10
                                              5.        Verdict Form. In a jury trial, the parties shall submit a joint proposed verdict
                                  11
                                       form. If the parties are unable to stipulate to a verdict form, then each party or side shall submit a
                                  12
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                                       proposed verdict form.
                                  13
                                              6.        Proposed Findings of Fact and Conclusions of Law. In a bench trial, each party
                                  14
                                       or side shall submit proposed findings of fact and conclusions of law.
                                  15
                                              7.        Exhibits. The parties shall submit two sets of all exhibits. Exhibits are not to be
                                  16
                                       filed but rather shall be submitted to chambers. Exhibits must be premarked. In addition, one set
                                  17
                                       of exhibits must be tagged. Exhibits shall be three-hole punched and shall be submitted in binders.
                                  18
                                       Sample tags may be obtained from the Courtroom Deputy and are attached as Exhibit A hereto.
                                  19
                                              8.        Trial Brief. Each party shall submit a trial brief not to exceed 15 pages absent
                                  20
                                       court order. A trial brief is most helpful to the Court when it: (1) summarizes the party’s theory
                                  21
                                       of the case, (2) identifies key evidence, and (3) provides summary briefing on any controlling
                                  22
                                       issues of law.
                                  23

                                  24
                                       Dated: 5/29/2020
                                  25

                                  26                                                                  ________________________
                                  27                                                                  EDWARD M. CHEN
                                                                                                      United States District Judge
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                                   1

                                   2                                         JUROR QUESTIONNAIRE

                                   3   1.      Name.

                                   4   2.      City of residence.

                                   5   3.      Occupational status.

                                   6   4.      Educational background.

                                   7   5.      Organizations.

                                   8   6.      Hobbies.

                                   9   7.      Marital status.

                                  10   8.      Spouse’s occupation.

                                  11   9.      Children (including ages).

                                  12   10.     If a juror on another case.
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                                  13   11.     If ever a grand juror.

                                  14   12.     If ever in the military.

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                                   1                                                                          EXHIBIT A
                                       UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT
                                   2        NORTHERN DISTRICT OF                                     NORTHERN DISTRICT OF                                     NORTHERN DISTRICT OF
                                                 CALIFORNIA                                               CALIFORNIA                                               CALIFORNIA

                                   3   Case Number:                                             Case Number:                                             Case Number:
                                       PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT
                                   4   NO._____________                                         NO._____________                                         NO._____________
                                       Date                                                     Date                                                     Date
                                       Admitted:________________________                        Admitted:________________________                        Admitted:________________________
                                   5
                                       By:_______________________________                       By:_______________________________                       By:_______________________________
                                   6         Angella Meuleman, Deputy Clerk                           Angella Meuleman, Deputy Clerk                           Angella Meuleman, Deputy Clerk
                                       ------------------------------------------------------   ------------------------------------------------------   ------------------------------------------------------
                                   7
                                       UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF                                     NORTHERN DISTRICT OF                                     NORTHERN DISTRICT OF
                                   8             CALIFORNIA                                               CALIFORNIA                                               CALIFORNIA
                                       Case Number:                                             Case Number:                                             Case Number:
                                   9   PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT
                                       NO._____________                                         NO._____________                                         NO._____________
                                  10   Date                                                     Date                                                     Date
                                       Admitted:________________________                        Admitted:________________________                        Admitted:________________________
                                  11   By:_______________________________                       By:_______________________________                       By:_______________________________
                                             Angella Meuleman, Deputy Clerk                           Angella Meuleman, Deputy Clerk                           Angella Meuleman, Deputy Clerk
                                  12
Northern District of California




                                       ------------------------------------------------------   ------------------------------------------------------   ------------------------------------------------------
 United States District Court




                                  13   UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF                                     NORTHERN DISTRICT OF                                     NORTHERN DISTRICT OF
                                                 CALIFORNIA                                               CALIFORNIA                                               CALIFORNIA
                                  14   Case Number:                                             Case Number:                                             Case Number:
                                       PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT
                                  15   NO._____________                                         NO._____________                                         NO._____________
                                       Date                                                     Date                                                     Date
                                  16   Admitted:________________________                        Admitted:________________________                        Admitted:________________________
                                       By:_______________________________                       By:_______________________________                       By:_______________________________
                                  17         Angella Meuleman, Deputy Clerk                           Angella Meuleman, Deputy Clerk                           Angella Meuleman, Deputy Clerk
                                       ------------------------------------------------------   ------------------------------------------------------   ------------------------------------------------------
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